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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

CHRISTOPHER PAUL PEARSON                     :
and MARSHA ANNE PEARSON,                     :
     Plaintiffs,                             :     CASE NO.
                                             :     1:15-cv-03849-AT-WEJ
       v.                                    :
                                             :
DR. WILLIAM WININGER, SR.,                   :
individually and as an officer               :
of the King’s Way Baptist                    :
Church, Inc., and the King’s Way             :
Christian School, JOE HAYMAN,                :
and as an officer of the King’s              :
Way Baptist Church, Inc., DR. RAY            :
CONWAY, SR., individually and as             :
an officer of the King’s Way                 :
Baptist Church, Inc., and as                 :
Administrator of the King’s Way              :
Christian School, THE KING’S WAY             :
BAPTIST CHURCH, INC., and THE                :
KING’S WAY CHRISTIAN SCHOOL,                 :
     Defendants.                             :

   DEFENDANT DR. WILLIAM WININGER, SR.’s INITIAL DISCLOSURES

  (1)       If the defendant is improperly identified, state

defendant’s correct identification and state whether defendant

will    accept      service    of   an   amended     summons   and   complaint

reflecting        the    information     furnished     in   this     disclosure

response:

The Defendant Dr. William Wininger, Sr. (“Defendant”), is not

improperly identified.




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  (2)    Provide the names of any parties whom defendant contends

are necessary parties to this action, but who have not been

named    by   plaintiff.      If    defendant      contends      that    there     is   a

question      of    misjoinder     of    parties,      provide   the     reasons    for

defendant’s contention:

None.

  (3)    Provide a detailed factual basis for the defense or

defenses      and    any    counterclaims         or   crossclaims      asserted        by

defendant in the responsive pleading:

The Defendant admits he hugged the Plaintiff Marsha Anne Pearson

(“Plaintiff”) multiple times during the years they worked at The

King’s Way Christian School, and he asserts that she did not

complain about it.          The incidents occurred in a classroom that

anyone   could      enter   at     any    time,    including     parents     who   were

dropping their children off at school.                     The Defendant denies

that he ever exposed his private parts to the Plaintiff, that he

ever made offensive contact with the Plaintiff’s person, and

that he ever threatened the Plaintiff if she did not allow him

to engage in allegedly wrongful conduct with her.                       The Defendant

also denies he is potentially liable for any conduct alleged in

the   Plaintiff’s       Complaint        that   occurred    after      he   no   longer

worked for any of the other defendants herein.



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  (4)    Describe in detail all statutes, codes, regulations,

legal principles, standards and customs or usages, and

illustrative case law which defendant contends are applicable to

this action.

Common law assault; common law intentional infliction of

emotional distress; common law loss of consortium; statutory

punitive damages; Fed.R.Civ.P. 54(d) and L.R. 54, N.D.Ga.

  (5)    Provide the name and, if known, the address and telephone

number    of    each       individual     likely     to     have   discoverable

information that you may use to support your claims or defenses,

unless solely for impeachment, identifying the subjects of the

information.        (Attach witness list to Initial Disclosures as

Attachment A.)

See Attachment “A” for the witness list.              The Defendant reserves

the right to amend this response at a later time if discovery

discloses additional possible witnesses.

  (6)    Provide the name of any person who may be used at trial

to present evidence under Rules 702, 703, or 705 of the Federal

Rules of Evidence.          For all experts described in Fed.R.Civ.P.

26(a)(2)(B), provide a separate written report satisfying the

provisions     of   that    rule.       (Attach    expert   witness   list   and

written reports to Initial Disclosures as Attachment B.)



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At this time, the Defendant has not identified any possible

experts.        The    Defendant    reserves         the     right   to   amend    this

response at a later time if discovery discloses a need for an

expert.

     (7)   Provide a copy of, or description by category and

location       of,     all    documents,        data     compilations      or     other

electronically stored information, and tangible things in your

possession, custody, or control that you may use to support your

claims or defenses unless solely for impeachment, identifying

the subjects of the information.                     (Attach document list and

descriptions to Initial Disclosures as Attachment C.)

At    this    time,     the   Defendant        has     not   identified    any     such

documents,      data    compilations       or    other       electronically       stored

information, nor tangible things in his possession, custody, or

control that he may use to support his claims and/or defenses.

The Defendant reserves the right to amend this response at a

later time if discovery discloses such information.

     (8)   In the space provided below, provide a computation of any

category of damages claimed by you.                  In addition, include a copy

of, or describe by category and location of, the documents or

other evidentiary material, not privileged or protected from

disclosure on which such computation is based, including

materials bearing on the nature and extent of injuries suffered,
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making such documents or evidentiary material available for

inspection and copying under Fed.R.Civ.P. 34.                 (Attach any

copies and descriptions to Initial Disclosures as Attachment D.)

At this time, the Defendant is not claiming any damages because

the     Defendant    has     not     filed      any     counterclaim(s)     and/or

crossclaim(s).       The Defendant reserves the right to amend this

response    at   a   later    time    if       the    Defendant   does   file   any

counterclaim(s) and/or crossclaim(s).

  (9)    If defendant contends that some other person or legal

entity is, in whole or in part, liable to the plaintiff or

defendant in this matter, state the full name, address, and

telephone number of such person or entity and describe in detail

the basis of such liability.

At this time, the Defendant lacks sufficient information to know

with any degree of certainty whether any of the other named

defendants    may    be    liable    to    either      of   the   Plaintiffs,   nor

whether any other person or legal entity may be liable to either

of the Plaintiffs.

  (10) Attach for inspection and copying as under Fed.R.Civ.P.

34 any insurance agreement under which any person carrying on an

insurance business may be liable to satisfy part or all of a

judgment which may be entered in this action or to indemnify or



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reimburse for payments to satisfy the judgment.                (Attach copy of

insurance agreement to Initial Disclosures as Attachment E.)

At   this   time,   the   Defendant    is   not   aware   of    any   applicable

insurance agreement.       The Defendant reserves the right to amend

this response at a later time.



                                      Respectfully Submitted,

                                      THE PILGRIM LAW GROUP, LLC

                                      _/s/ Daniel E. Rice_______
                                      J. Mac C. Pilgrim, Bar No. 141955
                                      Daniel E. Rice, Bar No. 183746
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                           ATTACHMENT “A”

                            WITNESS LIST

(1)   Mr. Christopher Paul Pearson & Ms. Marsha Anne Pearson

      (Plaintiffs)

      c/o Hartley, Rowe & Fowler, PC

      P.O. Box 489

      Douglasville, Georgia 30133

      (770) 920-2000

(2)   Mr. Joe Hayman (co-defendant)

      c/o Hollberg & Weaver, LLP

      2921 Piedmont Road, NE, Ste C

      Atlanta, Georgia 30305

      (404) 760-1116

(3)   Dr. Ray Conway (co-defendant)

      c/o Hollberg & Weaver, LLP

      2921 Piedmont Road, NE, Ste C

      Atlanta, Georgia 30305

(4)   Ms. Stephanie Hall (daughter of Defendant Wininger, and a

      teacher at the Defendant School)

(5)   Ms. Pat Jackson (a person who Plaintiff Marsha Pearson

      allegedly discussed the allegations with)




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(6)   Unknown members of the Defendant Church’s Board of

      Deacons (a meeting was allegedly held to discuss the

      allegations)




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Christian School, JOE HAYMAN,               :
and as an officer of the King’s             :
Way Baptist Church, Inc., DR. RAY           :
CONWAY, SR., individually and as            :
an officer of the King’s Way                :
Baptist Church, Inc., and as                :
Administrator of the King’s Way             :
Christian School, THE KING’S WAY            :
BAPTIST CHURCH, INC., and THE               :
KING’S WAY CHRISTIAN SCHOOL,                :
     Defendants.                            :

                          CERTIFICATE OF SERVICE

    I      hereby    certify     that       on   November   11,   2015,   I

electronically filed the DEFENDANT DR. WILLIAM WININGER, SR.’s

INITIAL DISCLOSURES with the Clerk of Court using the CM/ECF

system which will automatically send email notification of such

filing to the following attorneys of record:

    Joseph H. Fowler

    Erica T. Taylor

    George M. Weaver

    Eric P. Wilborn
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                                 Respectfully Submitted,

                                 THE PILGRIM LAW GROUP, LLC

                                 _/s/ J. Mac C. Pilgrim___
                                 J. Mac C. Pilgrim, Bar No. 141955
                                 Daniel E. Rice, Bar No. 183746
                                 Attorneys for Defendant Wininger
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